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                          Exhibit 3
Case: 1:20-cv-05124 Document #: 35-3 Filed: 11/16/20 Page 2 of 14 PageID #:786
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Case: 1:20-cv-05124 Document #: 35-3 Filed: 11/16/20 Page 4 of 14 PageID #:788
Case: 1:20-cv-05124 Document #: 35-3 Filed: 11/16/20 Page 5 of 14 PageID #:789
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Case: 1:20-cv-05124 Document #: 35-3 Filed: 11/16/20 Page 7 of 14 PageID #:791
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Case: 1:20-cv-05124 Document #: 35-3 Filed: 11/16/20 Page 9 of 14 PageID #:793
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